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 6                                   UNITED STATES DISTRICT COURT

 7                                          DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                             Plaintiff,                )
                                                         )
10            v.                                         )         2:10-CR-456-LDG (VCF)
                                                         )
11    CHRISTOPHER DIBLASIO,                              )
                                                         )
12                             Defendant.                )

13                                     FINAL ORDER OF FORFEITURE

14            On May 13, 2011, the United States District Court for the District of Nevada filed a

15    Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); and Title 18, United

16    States Code, Section 924(d)(1) and Title 28, United States Code, Section 2461(c), based upon the plea

17    of guilty by defendant CHRISTOPHER DIBLASIO, to criminal offenses, forfeiting specific property

18    alleged in the Superseding Criminal Indictment and agreed to in the Plea Memorandum and shown

19    by the United States to have the requisite nexus to the offense to which defendant CHRISTOPHER

20    DIBLASIO, pled guilty. Docket #30, #41, #42, #46.

21            This Court finds the United States of America published the notice of the forfeiture in

22    accordance with the law via the official government internet forfeiture site, www.forfeiture.gov,

23    consecutively from July 16, 2011, through August 14, 2011, notifying all third parties of their right

24    to petition the Court.

25            This Court finds no petition was filed herein by or on behalf of any person or entity and the

26    time for filing such petitions and claims has expired.
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 1            This Court finds no petitions are pending with regard to the assets named herein and the time

 2    for presenting such petitions has expired.

 3            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 4    title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 5    United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

 6    32.2(c)(2);Title 18, United States Code, Section 924(d)(1) and Title 28, United States Code, Section

 7    2461(c); and Title 21, United States Code, Section 853(n)(7) and shall be disposed of according to

 8    law:

 9                   a.      a Bryco Arms, Jennings T380, .380 Auto, serial # 1421101; and

10                   b.      any and all ammunition (“property”).

11            The Clerk is hereby directed to send copies of this Order to all counsel of record and three

12    certified copies to the United States Attorney’s Office.

13                         WK
              DATED this _________          'HFHPEHU
                                   day of _______________, 2011.

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                                                    UNITED STATES DISTRICT JUDGE
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